Case 3199-1 Q2832-CRByRPCHHIRE Ioppited 12/19/00 PagelD.1 Page 1 of 8

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J Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelD.2 Page 2 of 8
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DISTRICY OF MAS ep
WNiCED STATES OF AMERICH

RICHARD NELSON }

00 CR

CONSENT TO TRANSFER OF CASE FOR PLEA
AND SENTENCE UNDER RULE 20

I, Ricnard Nelson, defendant in the above-captioned action,
having been informed that an Information is pending against me in
the District of Massachusetts charging me with conspiracy to
launder money, in violation of 18 U.S.c. §195¢(h}, wish to plead
guilty to the offense charged, to walve venue and trial in the
District of Massachusetts, and consent to the disposition of the
case in the Southern Pistrict of California, where ! reside.

Respectfully submitted,

RICHARD NELSON

K T. VECCHIONE
ounsel for Richard Nelson

APPROVED:

Wee

NALD K. STERN — SHERRI HOBSON
United States Attorney Assistant U. S. Attorney
District of Massachusetts Southern District of

California

Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelID.3 Page 3 of 8

CLOSED
U.S. District Court
U.S. District Court - Massachusetts (Boston)
CRIMINAL DOCKET FOR CASE #: 97-CR-10070-ALL
USA v. Nelson Filed: 03/19/97

Dkt# in other court: None
Case Assigned to: Judge Nancy Gertner
RICHARD NELSON (1)

Defendant
fberm 09/05/00]

Pending Counts:

NONE
Terminated Counts: Disposition
21:846 Conspiracy to possess Case transferred to the
Marijuana with intent to Southern distrit of CA
distribute, (1)
(1)
18:1956(h}) Conspiracy to Case transferred to the
launder money. Southern distrit of CA
(2) (2)

Offense Level (disposition): 4

Complaints:

NONE

U. S. Attorneys:

Michael D. Riecciuti
617-748-3235

[COR LD NTC]

United States Attorney’s Office
1 Courthouse Way

Boston, MA 02210

617-748-3161

Docket as of November 17, 2000 1:37 pm Page l
Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelD.4 Page 4 of 8

Proceedings include all events.
1:97crl0070-ALL USA v. Nelson CLOSED

3/19/97 -- Felony Information received for filing . Richard Nelson (1)
count(s}) 1, 2 ({fbd}) [Entry date 03/19/97]

3/20/97 -- Clerk set up an arrgn on an information for the dft
Richard Nelson. Dft is in custody in California, AUSA
Riccuiti will file a hab, and notify the Marshals.
Arrgn/Rule 11 hrg is set for Wed’s April 2, 1997 at 2:30
pm. AUSA will notify all parties of date. (mcm)
[Entry date 03/20/97]

3/24/97 -- Deadline updated as to Richard Nelson ;, reset Change of
Plea Hearing for 2:30 4/2/97 for Richard Nelson . (tap)
[Entry date 03/24/97]

7/28/97 -- Clerk spoke to AUSA on 7/28/97, dft is already serving time
in California, ausa will file a hab today to have dft
appear before Judge Gertner for an arrgn and a plea to
information. (mcm) [Entry date 07/28/97]

7/2/98 1 PETITION by USA for Writ of Habeas Corpus ad prosequendum
in case as to Richard Nelson , filed. Appearance date:
date to be scheduled.... (tmc) [Entry date 07/06/98]

3/15/99 2 NOTICE issued of Hearing/Conference as to Richard Nelson,

set Change of Plea Hearing for 2:30 5/18/99 for Richard
Nelson (jam) [Entry date 04/06/99]

5/17/99 3 MOTION by USA , as to Richard Nelson to continue rule 11
hearing , filed. (jam) [Entry date 05/17/99]
5/18/39 -- Judge Nancy Gertner . ENDORSED ORDER as to Richard Nelson
granting [3-1] motion to continue rule 11 hearing as to
Richard Nelson (1), reset Change of Plea Hearing for
11:00 7/8/99 for Richard Nelson . (jam}

[Entry date 05/20/99]

7/8/99 -- Change of Plea set for 7/8/99 ig hereby cancelled at the
reg of ausa and dft atty. Counsel will file a Rule 20
transfer mtn forthwith. Atty is located in California. (mem)
[Entry date 07/08/99]

8/7/00 4 Consent to Transfer of Jurisdiction pursuant to Rule 20
Scuthern California to District of, as to Richard Nelson ,
Counts closed: Richard Nelson (1) count(s) 1, 2 (jam)
[Entry date 08/31/00]

9/5/00 -- Case closed as to all defendants, as to Richard Nelson
party Richard Nelson (jam) [Entry date 09/05/00]

Docket as of November 17, 2000 1:37 pm Page 2
Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelID.5 Page 5of 8

UNITED STATES DISTRICT COURT

DISTRICT OF ee G EE ta Onn
oa Rau #@ aA Tae

UNITED STATES OF AMERICA ) VIOLATIONS: |
)
Vv. ) 21 U.8.C. § 846 -
) Conspiracy to Possess
RICHARD NELSON ) Marijuana With Intent
) Distribute
)
) 18 U.8.C. § 1956(h) -
) Conspiracy to Launder
) Money
INFO TION
COUNT ONE: (21 U.8.C. § 846 = Conspiracy To Possess Marijuana

With Intent To Distribute)
The United States charges that:

From a date unknown to the United States, but from at least
in or about August, 1993, and continuing thereafter until in or
about April, 1996, at Taunton and Dighton, in the District of
Massachusetts, elsewhere in the District of Massachusetts, in the
Southern District of California, and elsewhere,

RICHARD NELSON,
defendant herein, did knowingly and intentionally combine,
conspire, confederate and agree with other persons known and
unknown to the United States to possess with intent to distribute
a quantity of marijuana, a Schedule I controlled substance, in
violation of Title 21, United States Code, Section 841(a)(1).

All in violation of Title 21, United States Code, Section

846.

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Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelD.6 Page 6 of 8

NOTICE OF APPLICABILITY OF 21 U.8.C. § 841(b) (1) (B) (vii)

The offense described in Count One involved one hundred
kilograms or more of a mixture or substance containing a
detectable amount of marijuana. Accordingly, Title 21, United

States Code, Section 841(b)({1)(B)(vii), applies to this count.
Case 3:00-cr-03839-CRB Document1 Filed 12/19/00 PagelID.7 Page 7 of 8

COUNT TWO: (18 U.8.c. § 1956(h) - Conspiracy to Launder
Money)

The United States further charges that:

From a time unknown to the United States, but from at least
in or about December, 1994, and continuing thereafter until at
least in or about April 1996, in Taunton in the District of
Massachusetts, elsewhere in the District of Massachusetts, and in
the Southern District of California,

RICHARD NELSON,

defendant herein, knowing that the property involved in the
financial transactions represented the proceeds of specified
unlawful activity and were used to conduct and facilitate such
specified unlawful activity, to wit, the possession and
distribution of controlled substances, knowingly and
intentionally combined, conspired and agreed with other persons
known and unknown to the United States to conduct financial
transactions which involved the proceeds of such specified
unlawful activity with the intent to promote the carrying on of
such specified unlawful activity and knowing that the
transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of
the proceeds of such specified unlawful activity, in violation of
Title 18, United States Code, Sections 1956(a)(1)(A) and (B).

All in violation of Title 18, United States Code, Section

1956(h).
Case 3:00-cr-03839-CRB

Date:

October 10,

Document 1 Filed 12/19/00 PagelD.8 Page 8 of 8

Respectfully submitted,

DONALD K. STERN
United States Attorney
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By:

MICHAEL D. RICCIUTI
Assistant U.S. Attorney

1996
